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                                          UNITED STATES DISTRICT COURT
                                                    FOR THE
                                              DISTRICT OF ARIZONA

Brian ORegan,                                     )
                                                  )
                    Plaintiff,                    )           MDL Case No. 2:15-md-02641-DGC
                                                  )
                       v.                         )           Civil Action No. CV-16-01958-PHX-DGC
                                                  )
C. R. Bard, Inc., et al.,                         )
                                                  )
                  Defendant.                      )

                                              APPEARANCE OF COUNSEL

To:      The clerk of court and all parties of record

         I am admitted or otherwise authorized to practice in this court, and I appear in this case as counsel for:

         Defendants C. R. Bard, Inc. and Bard Peripheral Vascular, Inc.

Date:    March 24, 2016                               /s/ Richard B. North, Jr.
                                                      Attorney's signature

                                                      Richard B. North, Jr. (Ga. Bar No. 545599)
                                                      Printed name and bar number

                                                      Nelson Mullins Riley & Scarborough, LLP
                                                      201 17th St., NW, Suite 1700, Atlantic Station, Atlanta, GA 30363
                                                      Address

                                                      richard.north@nelsonmullins.com
                                                      E-mail Address

                                                      (404) 322-6000
                                                      Telephone number

                                                      (404 322-6050
                                                      FAX number
